        Case 4:12-cr-00180-BLW Document 110 Filed 05/28/13 Page 1 of 2




                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,                         Case No. 4:12-CR-00180-BLW

                      Plaintiff,
                                                   ORDER CONTINUING TRIAL
        v.

 STEPHANIE D. NAGEL,

                      Defendant.


       The Court granted co-defendant Shyloh Becker’s Motion to Continue, resetting

this case for trial on June 14, 2013. The Court determined that a recent disclosure of

discovery by the government warranted the continuance. Under those circumstances, the

Court found that a continuance was needed to give defense counsel an opportunity to

provide an effective defense. Thus, a continuance is warranted under 18 U.S.C. §

3161(h)(7)(B)(iv), which authorizes a finding of excludable time when the refusal to

grant a continuance would “deny counsel for the defendant . . . the reasonable time

necessary for effective preparation . . . .” Under these circumstances, the interests of

justice in allowing the defense time for effective preparation outweighs the defendant’s

and the public’s interest in a speedy trial under 18 U.S.C. § 3161(h)(7)(A).

       Co-defendant Stephanie Nagel did not moved for a continuance. However, she has

not opposed the motion. Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(6), excludable



ORDER - 1
        Case 4:12-cr-00180-BLW Document 110 Filed 05/28/13 Page 2 of 2




time exists for “a reasonable period of delay when the defendant is joined for trial with a

co-defendant as to whom the time for trial has not run and no motion for severance has

been granted.” Although Defendant Shyloh Becker filed a motion to sever her case from

Defendant Josh Becker, that motion is moot given Josh Becker’s plea agreement. No

motion for severance has been filed to sever the trial between Shyloh Becker and

Stephanie Nagel, the only two remaining defendants. Accordingly, pursuant to 18 U.S.C.

§ 3161(h)(6), the Court finds that the excludable time found for the defendant moving for

a continuance, Shyloh Becker, also applies to co-defendant Stephanie Nagel. Thus,

Defendant Stephanie Nagel will have trial moved to June 14, 2013 as well. Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED that the present trial date for

Defendant Stephanie Nagel be VACATED, and that a new trial be set for June 14, 2013

at 9:30 a.m. in the U.S. Courthouse in Pocatello, Idaho.

       IT IS FURTHER ORDERED that the period of time between the prior trial date

and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. § 3161(h)(6) and (7)(A) & (B).

                                          DATED: May 28, 2013



                                          B. LYNN WINMILL
                                          Chief U.S. District Court Judge




ORDER - 2
